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                  UNITED STATES DISTRICT COURT
     CENTRAL DISTRICT OF CALIFORNIA (Southern Division - Santa Ana)
               CIVIL DOCKET FOR CASE #: 8:20-cv-01302


Olver v. Wright Medical Technology Inc                          Date Filed: 07/20/2020
Assigned to:                                                    Jury Demand: None
Cause: 42:1396 - Tort Negligence                                Nature of Suit: 367 Personal Injury:
                                                                Health Care/Pharmaceutical Personal
                                                                Injury Product Liability
                                                                Jurisdiction: Diversity
Plaintiff
Ann L Olver                                   represented by Raymond Paul Boucher
                                                             Boucher LLP
                                                             21600 Oxnard Street Suite 600
                                                             Woodland Hills, CA 91367-4903
                                                             818-340-5400
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                                                             Email: ray@boucher.la
                                                             ATTORNEY TO BE NOTICED


V.
Defendant
Wright Medical Technology Inc


Date Filed      # Docket Text
07/20/2020      1 COMPLAINT Receipt No: ACACDC-27278806 - Fee: $400, filed by Plaintiff
                  Ann L Olver. (Attorney Raymond Paul Boucher added to party Ann L
                  Olver(pty:pla))(Boucher, Raymond) (Entered: 07/20/2020)
07/20/2020      2 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case
                  Opening) 1 filed by Plaintiff Ann L Olver. (Boucher, Raymond) (Entered:
                  07/20/2020)
07/20/2020      3 CIVIL COVER SHEET filed by Plaintiff Ann L Olver. (Boucher, Raymond)
                  (Entered: 07/20/2020)



                                   PACER Service Center
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                     Docket     Search         8:20-cv-01302 End date:
      Description:
                     Report     Criteria:      7/21/2020
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   Tel: (818) 340-5400
 4 Fax: (818) 340-5401
 5 Attorneys for Plaintiff Ann L. Olver
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
10
11 ANN L. OLVER,                               Case No.
12                Plaintiff,                   COMPLAINT FOR DAMAGES
13          v.                                 1. Negligence
                                               2. Strict Products Liability –
14 WRIGHT MEDICAL TECHNOLOGY,
   INC., a Delaware corporation,                   Manufacturing Defect
15                                             3. Strict Products Liability – Failure to
               Defendant.                          Warn
16
                                               4. Negligent Misrepresentation
17                                             5. Fraudulent Concealment
                                               6. Fraudulent Misrepresentation
18
                                               7. Punitive Damages
19
                                               DEMAND FOR JURY TRIAL
20
21
22                             COMPLAINT FOR DAMAGES
23
           Plaintiff Ann L. Olver files her Complaint for Damages and Jury Trial
24
     Demand against Defendant Wright Medical Technology, Inc., a Delaware
25
26 corporation, respectively showing the Court the following:
27
28

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 1                                 NATURE OF ACTION
 2         1.     For many years, Defendant has known their hip replacement device – the
 3
     Wright Medical Profemur® Total Hip System with Wright Ceramic Femoral Head
 4
     (the “Head”), Wright Dynasty® PC Shell (the “Cup”), Wright Dynasty® A-Class Poly
 5
 6 Liner (the “Liner”), Wright Profemur® Renaissance Stem (the “Stem”), and
 7
     Profemur® Cobalt Chromium Neck (the “Neck”) (collectively referred to as the
 8
 9 “Profemur Total Hip System” or the “Device”) – was prone to fail within a few years
            ®


10 of implantation despite the fact that hip implant devices typically last more than
11
     twenty years. The Stem of Defendant’s Device is comprised of a titanium alloy, while
12
13 the Neck is comprised of a cobalt chromium alloy. Defendant has known the Stem-
14 Neck junction of its Device has a tendency to generate fretting and galvanic corrosion
15
     in the Neck-Stem body transition, which causes dangerously elevated levels of CoCr,
16
17 adverse tissue reactions, pseudo tumors and other adverse medical events in patients.
18 As a result of the Device’s defects and Defendant’s tortious acts/omissions, Plaintiff
19
     Ann L. Olver, and many other patients who received these Devices endured
20
21 unnecessary pain and suffering; debilitating lack of mobility; and a subsequent more
22 difficult revision surgery to replace the defective Device, giving rise to more pain and
23
     suffering, a prolonged recovery time, and an increased risk of complications and death
24
25 from surgery.
26
27
28

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 1                                         PARTIES
 2         2.      At all relevant times hereto, Plaintiff Ann L. Olver was and is an adult
 3
     resident and citizen of the State of California, residing in Lake Forest, Orange County,
 4
     California.
 5
 6         3.      Defendant Wright Medical Technology, Inc. (“WMT” or “Wright”) is a
 7
     Delaware corporation, with its principal place of business at 1023 Cherry Road,
 8
 9 Memphis, Tennessee 38117, and is registered to do business in the State of California,
10 and at all times relevant hereto did business in the State of Tennessee and in the State
11
     of California. Wright may be served with process by serving its registered agent for
12
13 service, Corporation Service Company, at 2345 Rice Street, Suite 230, Roseville,
14 California 55113.
15
           4.      Defendant was, at all relevant times, engaged in the business of
16
17 designing, manufacturing, distributing, selling, marketing and/or introducing into
18 interstate commerce, either directly or indirectly through third parties or related
19
     entities, various prosthetic orthopedic products, including the Profemur® Total Hip
20
21 System at issue in the civil action.
22         5.      Defendant was involved in the business of designing, licensing,
23
     manufacturing, importing, distributing, selling, marketing, and introducing into
24
25 commerce within the State of California, either directly or indirectly through third
26 parties or related entities, numerous orthopedic products, including the Profemur®
27
28

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 1 Total Hip System to include the Neck and Stem, as well as conducting post market
 2
     surveillance, monitoring and reporting adverse events.
 3
                    STATEMENT OF JURISDICTION AND VENUE
 4
            6.    The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)
 5
 6 as the parties are citizens of different States, and the amount in controversy exceeds
 7
     the sum or value of $75,000, exclusive of interest and costs.
 8
 9          7.    Venue is proper in the district pursuant to 28 § 1391, et seq., because a

10 substantial part of the events giving rise to the claim occurred in California and the
11
     district.
12
13          8.    At all times relevant hereto, throughout the United States, Wright

14 advertised, promoted, marketed, sold and/or distributed the defective PROFEMUR®
15
     Total Hip System that included modular necks that were distributed after December
16
17 13, 2000, and before August 25, 2009, all of the same being made of a titanium-
18 aluminum-vanadium alloy known as Ti6A14V.
19
                                FACTUAL ALLEGATIONS
20
            9.    Profemur® modular necks were first patented and marketed by
21
22 Cremascoli Ortho (“Cremascoli”), a European medical device manufacturer in 1986.
23          10.   In December 1999, Wright acquired Cremascoli, its product lines,
24
     documents, and manufacturing facilities, including the Profemur® line of hip
25
26 products.
27
28

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 1         11.    After the acquisition of Cremascoli, Wright re-designed the Profemur®
 2
     modular artificial hip stem and modular neck, expanded the product line to include
 3
     additional titanium models or versions of Profemur® stems and Profemur® modular
 4
 5 necks, and rebranded the Cremascoli titanium modular neck product line, and
 6
     compatible titanium artificial hip stems, as the Wright Profemur® Total Hip System.
 7
 8         12.    By the way of what is known as the Section 510(k) premarket

 9 notification process, on December 13, 2000, Wright received permission from the
10
     U.S. Food and Drug Administration (FDA) to distribute in the United States its first
11
12 titanium modular neck and stem artificial hips.
13         13.    The FDA never considered or approved the safety of Wright’s newly
14
     rebranded hip implant system and product line of titanium modular necks, but instead
15
16 concluded only that Wright’s hip implant system was substantially equivalent to an
17 already legally marketed device (i.e., the Cremascoli modular neck component
18
     acquired by Wright in December 1999).
19
20         14.    Sometime after December 13, 2000, Wright began to manufacture, label,

21 market, promote, distribute and sell in the United States the hip implant devices
22
     branded as “Profemur® Total Hip System,” which included titanium stems and
23
24 titanium modular necks.
25         15.    The Wright Medical Profemur® modular necks that were distributed by
26
     Wright after December 13, 2000, and before August 25, 2009, were all made of the
27
28 titanium-aluminum-vanadium alloy known as Ti6A14V.

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 1         16.    In the year 2000 and in all years thereafter to the present, Ti6A14V was
 2
     an alloy generally available for use in manufacturing implantable medical devices.
 3
           17.    In the year 2000 and in all years thereafter to the present, monoblock hip
 4
 5 implant stems without modular neck-stem junctions were generally available for use
 6
     in manufacturing artificial hip implants.
 7
 8         18.    In various marketing and promotional material published and distributed

 9 by Wright from approximately the year 2002, and into the year 2005, and available to
10
     Wright’s sales representatives and distributors, surgeons, patients and the general
11
12 public, Wright made the following representations, statements, claims and guarantees
13 about its Profemur® modular necks:
14
15         The modular neck used with the Profemur® hip has been employed by

16         Wright Cremascoli for over fifteen years. The necks were designed in

17         1985 and have been successfully implanted in over 50,000 patients

18         requiring both primary and revision hip procedures. The necks are

19         used in other Wright Cremascoli hip systems besides the Profemur®

20         hip. None of the necks has experienced a clinical failure since their

21         inception [emphasis added].

22
23         and

24
25         The modular neck system, designed by Cremascoli in 1985 (U.S.

26         Patent No. 4,957,510), has now been successfully implanted in over

27         50,000 patients requiring both primary and revision hip arthroplasty.

28         Extensive laboratory tests have proven that the coupling between the

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 1
           modular neck and femoral implant guarantees:
 2
                 • Structural reliability
 3               • Absence of significant micromovement
 4               • Absence of fretting corrosion

 5         [emphasis added].
 6 [Wright Medical Technology Monograph MH688-102© 2004].
 7         19.     On or about April 19, 2005, Wright first reported to the FDA a
 8
     Profemur® modular neck clinical failure where a Ti6A14V modular neck implanted
 9
10 in a patient experienced a catastrophic fracture (i.e., breaking into two pieces) at the
11 oblong tapered distal end where the neck is seated in the stem.
12
           20.     After receiving notice of the first modular neck fracture, Wright received
13
14 notice of additional modular neck clinical failures in the form of fractures of the
15 modular necks.
16
          21. The number of Profemur® Ti6A14V modular neck clinical fractures in
17
18 the form of fractures of the modular neck has continued to increase over time, and
19 continues to increase to the present day, now numbering more than 400 such clinical
20
   failures.
21
22        22. As the number of reported Wright Ti6A14V modular neck fractures
23 continued to increase, case studies appeared in medical journals reporting the fracture
24
   of Wright titanium Profemur® modular necks and identifying micromotion and
25
26 fretting corrosion at the neck-stem junction as the cause and mode of failure.
27
28

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 1         23.    At some point in time prior to August 25, 2009, Wright had notice that a
 2
     higher than normal rate of early failure of its Profemur® line of hip implant devices
 3
     were failing by fracture at the modular neck junction secondary to micromotion,
 4
 5 fretting and corrosion.
 6
           24.    As the number of reported Wright Ti6A14V Profemur® modular neck
 7
 8 fractures continued to increase, Wright, rather than redesigning its hip implant system
 9 to eliminate the modular neck-stem junction and thereby eliminate micromotion and
10
     fretting corrosion, instead began to design and develop a Profemur® modular neck
11
12 made of a cobalt chrome (CoCr) metal alloy.
13         25.    On April 16, 2009, Wright submitted a Section 510(k) premarket
14
     notification of intent to market a device generally identified as Profemur® hip system
15
16 modular necks made of a cobalt chrome alloy to the FDA.
17         26.    On or about August 25, 2009, Wright began to market and offer for
18
     distribution and sale in the United States Profemur® modular Necks made of cobalt
19
20 chromium alloy, and Wright simultaneously began withdrawing from the market its
21 Profemur® modular necks comprised of Ti6A14V titanium alloy.
22
           27.    Rather than swapping its titanium modular necks, which were known to
23
24 fracture secondary to micromotion and fretting corrosion, for more durable cobalt
25 chromium (“CoCr”) modular necks, Wright could have eliminated the potential for
26
   fretting and corrosion at the modular neck junction of its Profemur® hip implants by
27
28 abandoning modularity and manufacturing, designing, and marketing monoblock

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 1 stems, but it chose not to do so because Wright did not want to lose its investment in
 2
     the market share for the use of modular stems in primary hip implant arthroplasties.
 3
           28.    In promoting its Profemur® CoCr modular Necks Wright claimed that
 4
 5 the cobalt chrome modular Necks would result in less fretting than occurred with
 6
     Ti6A14V modular necks.
 7
 8         29.    The design of the Profemur® CoCr modular Neck, when coupled with

 9 the design of the titanium Profemur® hip Stems, is such that it in fact promotes the
10
     process of fretting corrosion at the modular Neck-Stem junction.
11
12         30.    In promoting its Profemur® CoCr modular Necks, Wright claimed that

13 the use of dissimilar metals, such as mating a CoCr modular Neck with a titanium
14
     Stem, would not result in galvanic corrosion (a corrosion process not unlike what
15
16 takes place with a car battery) at a level that would be problematic for patients.
17         31.    Wright’s claims that mating a CoCr modular Neck with a titanium Stem
18
     would not result in galvanic corrosion at a level that would be problematic for patients,
19
20 were not supported by unbiased, sound scientific testing.
21         32.    Claims by Wright that mating Profemur® CoCr modular Necks with
22
     Profemur® titanium Stems would not result in galvanic corrosion at a level that would
23
24 be problematic for patients were false and/or misleading.
25         33.    The Profemur® CoCr modular Necks that Wright designed and
26
     manufactured were designed to be used with most, if not all, of the same femoral
27
28

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 1 heads and most, if not all, of the same Profemur® titanium hip Stems as were its
 2
     titanium (Ti6A14V) Profemur® modular necks.
 3
           34.   While promoting its Profemur® CoCr modular Necks Wright Medical
 4
 5 stated, “[p]roduct complaint data reported to Wright to date does not indicate an
 6
     increased risk, as compared to traditional titanium necks, of adverse events due to
 7
                                                                  ®
 8 taper junction fretting and corrosion or fractures for Profemur CoCr modular
 9 Necks.” [See Profemur® CoCr Modular Necks Frequently Asked Questions, Wright
10
     Medical publication MH 1619-812.]
11
12         35.   Wright’s statement in its promotion materials that “[p]roduct complaint

13 data reported to Wright to date does not indicate an increased risk, as compared to
14
     traditional titanium necks, of adverse events due to taper junction fretting and
15
16 corrosion or fractures for Profemur CoCr modular Necks,” was not supported by
                                      ®


17 unbiased sound scientific testing.
18
           36.   The claim by Wright that “[p]roduct complaint data reported to Wright
19
20 to date does not indicate an increased risk, as compared to traditional titanium necks,
21 of adverse events due to taper junction fretting and corrosion or fractures for
22
     Profemur® CoCr modular Necks” was false and/or misleading.
23
24         37.   While promoting its Profemur® CoCr modular Necks, Wright claimed

25 that its CoCr modular Necks would result in less fretting than occurred with titanium
26
   modular necks.
27
28

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 1         38.    Claims by Wright that its CoCr modular Necks would result in less
 2
     fretting than occurred with titanium (Ti6A14V) modular necks were not supported by
 3
     unbiased, sound scientific testing.
 4
 5         39.    Claims by Wright that its CoCr modular Necks would result in less
 6
     fretting than occurred with titanium (Ti6A14V) modular necks were false and/or
 7
 8 misleading.
 9         40.    The design of the Profemur® CoCr modular Neck, when coupled with
10
     the design of the titanium (Ti6A14V) Profemur® hip Stems, is such that it in fact
11
12 encourages the process of fretting corrosion at the modular Neck-Stem junction.
13         41.    In promoting its Profemur® CoCr modular Necks, Wright claimed that
14
     the use of dissimilar metals, such as mating a CoCr modular Neck with a titanium
15
16 Stem, would not result in galvanic corrosion (“battery effect”) at a level that would
17 be problematic for patients.
18
           42.    Claims by Wright that mating a CoCr modular Neck with a titanium
19
20 Stem would not result in galvanic corrosion (“battery effect”) at a level that would be
21 problematic for patients, were not supported by unbiased, sound scientific testing.
22
           43.    The design of the Profemur® CoCr modular Neck, when coupled with
23
                                      ®
24 the design of the titanium Profemur hip Stems is such that it in fact promotes the
25 process of galvanic corrosion at the modular Neck-Stem junction.
26
          44. Prior to offering its Profemur® CoCr modular Necks for distribution or
27
                                                                                         ®
28 sale in the United States, Wright did not adequately test its design of CoCr Profemur

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 1 modular Necks for fretting corrosion or the biological effect of corrosion on the body
 2
     after implantation in patients.
 3
           45.    Prior to offering its Profemur® CoCr modular Necks for distribution or
 4
 5 sale in the United States, Wright did not adequately test its design of CoCr Profemur®
 6
     modular Necks for galvanic corrosion or the biological effect of corrosion on the body
 7
 8 after implantation in patients.
 9         46.    Prior to offering their Profemur® CoCr modular Necks for distribution
10
     or sale in the United States, Wright did not adequately test its design of CoCr
11
           ®
12 Profemur modular Necks for galvanic corrosion when mated with titanium
13 Profemur® hip Stems after implantation.
14
           47.    Wright rushed the Profemur® CoCr modular Necks to market without
15
16 adequately testing it for in vivo performance, including, but not limited to, resistance
17 to fretting and galvanic corrosion or the effects of corrosion on human tissue.
18
           48.    Wright rushed the Profemur® CoCr modular Necks to market in order to
19
                                                                              ®
20 preserve market share and its profits from the sale of its failing Profemur hip implant
21 products.
22
           49.    Prior to August 24, 2011and April 4, 2012, Wright had been informed
23
                    ®
24 that its Profemur CoCr modular Necks were corroding in patients to the extent that
25 revision surgeries were necessary to remove the Profemur® CoCr modular Necks.
26
          50. Wright knew or should have known that as of August 24, 2011, the date
27
                                                           ®
28 Plaintiff Ann L. Olver received her left Wright Profemur Total Hip System and as of

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 1 April 4, 2012, the date Plaintiff Ann L. Olver received her right Wright Profemur®
 2
     Total Hip System:
 3
                 (a)     Wright had not adequately tested the Profemur® CoCr
 4
 5        modular Necks to simulate in vivo performance for resistance to
 6
          fretting corrosion;
 7
 8               (b)     Wright had not adequately tested the Profemur® CoCr

 9        modular Necks to simulate in vivo performance for resistance to
10
          galvanic corrosion;
11
12               (c)     Wright’s Profemur® CoCr modular Necks would be

13        subject to fretting corrosion;
14
                 (d)     there was an increased risk of fretting corrosion at the
15
16        Neck-Stem junction;

17               (e)     there was an increased risk of galvanic corrosion at the
18
          Neck-Stem junction; and
19
20               (f)     there was a substantial risk that patients’ bodies would be

21        adversely affected by the exposure to corrosion, metal debris and metal
22
          ions secondary to corrosion.
23
24        51.    The Neck-Stem junctions of the Profemur® CoCr modular Neck, coupled

25 with a Profemur® titanium hip stem, are subject to significant movement which results
26
   in fretting corrosion, galvanic corrosion, and metal ion release.
27
28

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 1         52.   Product complaint data reported to Wright prior to August 24, 2011 and
 2
     April 4, 2012 indicated an increased risk of adverse events due to taper junction
 3
     fretting and corrosion for Profemur® CoCr modular Necks when coupled with
 4
 5 Profemur® titanium hip Stems, as compared to traditional titanium necks.
 6
           53.   Product complaint data reported to Wright prior to August 24, 2011 and
 7
 8 April 4, 2012 indicated an increased risk of adverse events due to galvanic corrosion,
 9 as compared to traditional titanium necks when coupled with Wright Medical
10
     Profemur® hip stems.
11
12         54.   Based upon what Wright knew or should have known before August 24,

13 2011 and April 4, 2012, Wright should have informed orthopedic surgeons using its
14
     Profemur® Total Hip Systems that there was an increased risk of fretting and galvanic
15
                         ®                                             ®
16 corrosion for Profemur CoCr modular Necks when coupled with Profemur titanium
17 hip stems.
18
           55.   The Profemur® CoCr modular Neck, Profemur® titanium modular Stem
19
                   ®
20 and the Profemur Total Hip System are defective in design in that the risks inherent
21 in the product’s use for hip replacement, when weighed against the utility or benefit
22
     derived from the product, outweigh the benefit which might have been gained by
23
24 placing the defective products in the body of Plaintiff Ann L. Olver.
25         56.   Additionally, the Profemur® CoCr modular Neck, Profemur® titanium
26
     modular Stem and the Profemur® Total Hip Systems implanted in Plaintiff Ann L.
27
28 Olver were defective in manufacture, as Wright manufactured same such that the

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 1 tolerances between the Stem and Neck components did not comply with Wright’s
 2
     design specifications.
 3
           57.    Based upon the facts and allegations set forth above, the Profemur® CoCr
 4
 5 modular Neck, Profemur® titanium Stem, and the Profemur® Total Hip System are
 6
     defective in labeling in that they do not perform as represented, and the risks that were
 7
 8 inherent in the product being used for hip replacement, when weighed against the
 9 utility or benefit derived from the product’s use, outweigh any alleged benefit.
10
           58.    Based upon the facts and allegations set forth above, the Wright Medical
11
           ®                            ®
12 Profemur CoCr modular Necks, Profemur titanium modular Stem, and the
13 Profemur® hip system are unreasonably dangerous in that the risks that were inherent
14
     in the product being used for hip replacement, when weighed against the alleged
15
16 utility or benefit derived from the product’s use, outweigh the benefit.
17         59.    Defendant was negligent in design, manufacture, distribution, sale,
18
     marketing, promotion, and labeling of the Profemur® CoCr modular Neck, Profemur®
19
                                          ®
20 titanium modular Stem, and the Profemur Total Hip System.
21         60.    Defendant was negligent in the failure to warn patients and/or surgeons
22
     that they had received product complaint data that indicated an increased risk of
23
24 adverse events due to taper junction fretting and corrosion, as compared to other
25 available safe alternative devices.
26
         61. Defendant was negligent in failing to warn patients and surgeons that
27
28 they had received product complaint data that indicated an increased risk of adverse

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 1 events due to galvanic corrosion, as compared to other available safe alternative
 2
     devices.
 3
                    PLAINTIFF ANN L. OLVER’S PROFEMUR® HIP
 4
           62.    On or about August 24, 2011, Plaintiff Ann L. Olver had a Wright
 5
 6 artificial hip implanted in her left hip (“Left Index Surgery”) in a procedure known as
 7
     a total hip arthroplasty (or “THA”).
 8
 9         63.    Orthopedic surgeon R. Lance Montgomery, M.D. (“Dr. Montgomery”)

10 performed the Left Index Surgery during which he implanted a Profemur® Total Hip
11
     System in Plaintiff Ann L. Olver.
12
13         64.    Plaintiff Ann L. Olver’s Left Index Surgery was performed at

14 Saddleback Memorial Medical Center, 24451 Health Center, Shakopee, California
15
     55379.
16
17         65.    Dr. Montgomery, did not breach any generally accepted standard of care

18 in the field of orthopedic surgery in her care and treatment of Plaintiff Ann L. Olver
19
     or negligently cause any injury to Plaintiff regarding the Left Index Surgery in any of
20
21 the following respects:
22                (a)   in the care or treatment that he provided to Plaintiff Ann L. Olver
23
           prior to beginning the Left Index Surgery;
24
25                (b)   in the Left Index Surgery he performed on Plaintiff Ann L.

26         Olver; or
27
                  (c)   in the care or treatment that he provided to Plaintiff Ann L.
28

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 1         Olver, subsequent to Plaintiff Ann L. Olver’s Left Index Surgery.
 2
           66.    Based upon the patient population that Wright intended its artificial hip
 3
     devices to be implanted in, at the time of Plaintiff Ann L. Olver’s Left Index Surgery,
 4
 5 he was an appropriate patient to be implanted with the Profemur® Total Hip System.
 6
           67.    On or about April 4, 2012, Plaintiff Ann L. Olver had a Wright artificial
 7
 8 hip implanted in her right hip (“Right Index Surgery”) in a procedure known as a total
 9 hip arthroplasty (or “THA”).
10
           68.    Orthopedic surgeon R. Lance Montgomery, M.D. (“Dr. Montgomery”)
11
                                                                         ®
12 performed the Right Index Surgery during which he implanted a Profemur Total Hip
13 System in Plaintiff Ann L. Olver.
14
           69.    Plaintiff Ann L. Olver’s Right Index Surgery was performed at
15
16 Saddleback Memorial Medical Center, 24451 Health Center, Shakopee, California
17 55379.
18
           70.    Dr. Montgomery, did not breach any generally accepted standard of care
19
20 in the field of orthopedic surgery in her care and treatment of Plaintiff Ann L. Olver
21 or negligently cause any injury to Plaintiff regarding the Right Index Surgery in any
22
     of the following respects:
23
24                (a)   in the care or treatment that he provided to Plaintiff Ann L. Olver

25         prior to beginning the Right Index Surgery;
26
                  (b)   in the Right Index Surgery he performed on Plaintiff Ann L.
27
28         Olver; or

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 1               (c)    in the care or treatment that he provided to Plaintiff Ann L.
 2
           Olver, subsequent to Plaintiff Ann L. Olver’s Right Index Surgery.
 3
           71.   Based upon the patient population that Wright intended its artificial hip
 4
 5 devices to be implanted in, at the time of Plaintiff Ann L. Olver’s Right Index Surgery,
 6
     he was an appropriate patient to be implanted with the Profemur® Total Hip System.
 7
 8         72.   Dr. Montgomery recommended the Profemur® Total Hip Systems to

 9 Plaintiff Ann L. Olver and indicated that the Devices were appropriate for her.
10
           73.   Plaintiff Ann L. Olver reasonably relied upon Dr. Montgomery in
11
                                                                           ®
12 deciding to proceed with hip replacement surgeries and have the Profemur Total Hip
13 Systems implanted.
14
           74.   Before or during the course of Plaintiff Ann L. Olver’s Left Index
15
                                                                       ®
16 Surgery and Right Index Surgery, Defendant arranged for the Profemur Total Hip
17 Systems that were implanted in Plaintiff Ann L. Olver to be delivered to Saddleback
18
     Memorial Medical Center and/or Dr. Montgomery for implantation in Plaintiff Ann
19
20 L. Olver.
21         75.   Defendant, directly or through its subsidiaries or affiliates, designed,
22
     manufactured, distributed and sold in the United States various prosthetic orthopedic
23
                                  ®
24 devices, including the Profemur Total Hip Systems implanted in Plaintiff Ann L.
25 Olver during the Left Index Surgery and Right Index Surgery, which included the
26
   following components:
27
28 Left Index Surgery

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1         • Wright Medical Technology Acetabular Shell Plus
2           Size 42 x 48 mm
            Ref: 3802-4248
3           Lot: 0601131795
4
          • Profemur Plus CoCr Modular Neck Long/A/R/Var 2
5           Size 42 mm, Group G
6           Ref: PHAC-1214
            Lot: 2018-01
7
8         • Wright Conserve Total A-Class Head w/BFH Tech Medium Neck
            Ref: 38AM-4200
9           Lot: 019779432
10
          • Wright Profemur® Plus CoCr Modular Neck
11          Long A/R Var/Val 1
12          Ref: PHAC-1214
            Lot: 010103980810
13
14        • Wright Medical Technology Femoral Stem
            Size 3
15
            Ref: PHA-00236
16          Lot: 0611375622
17
     Right Index Surgery
18
          • Wright Dynasty® Biofoam Shell
19
            Size 50 mm, Group C
20          Ref: DSBF-GC50
            Lot: 1422372
21
22        • Wright Dynasty® A-Class Poly Liner
23          Size 32 mm, Group C
            Ref: DLXP-GC32
24          Lot: 0711382297
25
          • Wright Lineage/Transcend Femoral Head
26          Size 32 mm + 0 mm Neck Length
27          Ref: 2600-0022
            Lot: 1101253677
28

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 1        • Wright Profemur® Plus CoCr Modular Neck
 2          Short A/R Var/Val 1
            Ref: PHAC-1222
 3          Lot: 0311316435
 4
          • Wright Profemur® Z Femoral Stem
 5          Size 3; 118 mm length
 6          Ref: PHAO-0236
            Lot: 1409310
 7
 8        • Wright Apical Hole Plug with Hex Handle
            Ref: 3118-0002
 9          Lot: 1001235045
10
          • Cancellous Self-Tapping Bone Screw
11          Ref: PHAO-0236
12          Lot: 1409310
13 These Wright components are hereinafter, as in prior paragraphs, collectively
14
   referred to as the “Profemur® Total Hip System” or the “Device”.
15
16        76.    At the Left Index Surgery and the Right Index Surgery, each of the
17 components of Plaintiff Ann L. Olver’s Profemur® Total Hip System was in
18
   substantially the same condition in all relevant respects as when they left Defendant’s
19
20 control.
21
          77.    At all times relevant hereto, Plaintiff Ann L. Olver used the Profemur®
22
     Total Hip Systems implanted during the Left Index Surgery and the Right Index
23
24 Surgery in a normal and reasonably foreseeable manner.
25
          78.    On or about May 2, 2019, Plaintiff Ann L. Olver reported to Dr.
26
     Abraham D. Kim, M.D. (“Dr. Kim”) for revision surgery of her left failed hip
27
28 prosthesis (“Left Revision Surgery”). Dr. Kim recommended the Left Revision

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 1 Surgery after Plaintiff Ann L. Olver presented with pain, alteration in gait, and
 2
     persistent elevated cobalt ion levels and pain.
 3
           79.    Plaintiff Ann L. Olver’s Left Revision Surgery was necessary because
 4
 5 the Device failed due to corrosion at the Neck-Stem junction of the Device.
 6
           80.    The Left Revision Surgery was performed by Dr. Kim at Saddleback
 7
 8 Memorial Medical Center, 24451 Health Center, Laguna Hills, California 92653.
 9 During the Left Revision Surgery, Dr. Kim removed failed components of the
10
     Profemur® Total Hip System Plaintiff Ann L. Olver received during the Left Index
11
12 Surgery.
13         81.    But for the fact that the CoCr modular Neck of the Device Plaintiff Ann
14
     L. Olver had received during the Left Index Surgery had corroded causing it to fail
15
16 and injure Plaintiff Ann L. Olver, Plaintiff Ann L. Olver’s Device was not otherwise
17 in need of revision.
18
           82.    The Device implanted during the Left Revision Surgery failed due to
19
                                                ®
20 corrosion of the oblong taper of the Profemur CoCr modular Neck where it seated
21 in the pocket of the Profemur® titanium Stem, which caused continuing and otherwise
22
     irreversible physical injury to Plaintiff Ann L. Olver.
23
24         83.    The Profemur® Total Hip System implanted in Plaintiff Ann L. Olver’s

25 left hip failed as a direct and proximate result of the actions, conduct, negligence, and
26
   breach of duties of the Defendant, as alleged in the Complaint.
27
28

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1          84.   The Profemur® Total Hip System (and its components), to include the
2
     Device implanted in Plaintiff Ann L. Olver during the Left Revision Surgery was not
3
     merchantable, but was unreasonably dangerous for its intended and/or reasonably
4
5 foreseeable uses in that:
6
                 (a)    it was and is unreasonably dangerous under California’s product
7
8          liability law as a result of one or more or a combination of the following:

9                       (i)     the Neck was manufactured/designed in such a manner as
10
                 to be subjected to excessive micromotion and fretting corrosion,
11
12               thereby increasing the potential for failure;

13                      (ii)    the Neck was manufactured/designed in such a manner as
14
                 to be subjected to excessive micromotion and galvanic corrosion,
15
16               thereby increasing the potential for failure;

17                      (iii)   the surface of the section of the Neck that was inserted
18
                 into the modular Stem was manufactured/designed in such a manner as
19
20               to increase the potential for fretting and galvanic corrosion, thereby

21               increasing the potential for failure;
22
                        (iv)    the portion of the Neck that was inserted into the modular
23
24               Stem was in a narrow, confined space, thereby increasing the potential

25               for fretting, corrosion and failure;
26
                        (v)     the components were manufactured/designed in such a
27
28               way as to make the modular Neck component susceptible to

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 1               micromotion, fretting and galvanic corrosion, thereby increasing the
 2
                 potential for failure;
 3
                        (vi)   the components were manufactured/designed in such a
 4
 5               way as to cause dissimilar metals (i.e., a CoCr modular Neck and
 6
                 titanium modular Stem) to mate by insertion into a narrow, confined
 7
 8               space, thereby increasing the potential for galvanic corrosion; and

 9                      (vii) there may be other conditions or defects yet to be
10
                 determined.
11
12               (b)    it was dangerous to an extent beyond which could be

13        contemplated by the ordinary consumer with the ordinary knowledge
14
          common to the community as to its characteristics in that:
15
16                      (i)    the ordinary consumer would not contemplate that the

17               Device would become so corroded that revision surgery would become
18
                 necessary prematurely; and
19
20                      (ii)   the ordinary consumer would not contemplate that the

21               ordinary activities of daily living would result in the Device releasing
22
                 harmful metal ions in the consumer’s body that caused adverse tissue
23
24               reactions and other medical complications.

25        85.    The Device was not tested in design and development under conditions
26
     that were known would be encountered in the normal in vivo patient environment
27
28 over substantial periods of time.

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 1         86.   The Device was not tested in design and development under the normal
 2
     in vivo patient environment conditions that were known would be encountered during
 3
     normal use of the Device.
 4
 5         87.   The Device was not tested for the FDA Section 510(k) Premarket
 6
     Notification Process under conditions that were known would be encountered in the
 7
 8 normal in vivo patient environment.
 9         88.   The Device was known by Defendant to be failing from fretting and
10
     galvanic corrosion of the modular Neck-Stem junction prior to the day of its FDA
11
12 510(k) Premarket Notification Application.
13         89.   The Device was known by Defendant to be failing at higher than
14
     expected rates from micromotion, fretting, corrosion, and galvanic corrosion of the
15
16 modular Neck-Stem junction prior to the date of its implantation in Plaintiff Ann L.
17 Olver during the Left Index Surgery.
18
           90.   The Device was known by Defendant to be failing at higher than
19
20 expected rates due to fretting and galvanic corrosion prior to the date of Plaintiff Ann
21 L. Olver’s Left Revision Surgery, during which the Device was discovered to be
22
     corroded at the Neck-Stem junction.
23
24         91.   Prior to the Left Index Surgery, Wright did not warn patients, surgeons,

25 customers, or its sales representatives/distributors that the Device was known to be
26
   failing from corrosion at higher than expected rates.
27
28

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1          92.    The Device implanted in Plaintiff Ann L. Olver’s left side failed due to
2
     corrosion as a result of one or more or a combination of the foregoing unreasonably
3
     dangerous conditions.
4
5          93.    As a direct and proximate result of the failure of the Profemur® Total Hip
6
     System, Plaintiff Ann L. Olver received during the Left Index Surgery Plaintiff Ann
7
8 L. Olver has sustained injuries and damages, including, but not limited to:
9                 (a)    undergoing surgery to remove and replace the failed left
10
           prosthesis;
11
12                (b)    past and future pain and anguish, both in mind and in body;

13                (c)    permanent diminishment of her ability to participate in and enjoy
14
           the affairs of life;
15
16                (d)    medical bills associated with the revision surgery and recovery

17         therefrom;
18
                  (e)    future medical expenses;
19
20                (f)    loss of enjoyment of life;

21                (g)    loss of past and future earnings and earning capacity;
22
                  (h)    disfigurement; and
23
24                (i)    physical impairment.

25        FEDERAL STATUTORY AND REGULATORY REQUIREMENTS
26         94.    Pursuant to federal law, a medical device is deemed to be adulterated if,
27
     among other things, it fails to meet established performance standards, or if the
28

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 1 methods, facilities or controls used for its manufacture, packing, storage or
 2
     installation are not in conformity with federal requirements. 21 U.S.C. § 351.
 3
           95.   Pursuant to federal law, a device is deemed to be misbranded if, among
 4
 5 other things, its labeling is false or misleading in any particular, or if it is dangerous
 6
     to health when used in the manner prescribed, recommended or suggested in the
 7
 8 labeling thereof. 21 U.S.C. § 352.
 9         96.   Pursuant to federal law, manufacturers are required to comply with FDA
10
     regulation of medical devices, including FDA requirements for records and reports,
11
12 in order to prohibit introduction of medical devices that are adulterated or misbranded,
13 and to assure the safety and effectiveness of medical devices.             In particular,
14
     manufacturers must keep records and make reports if any medical device may have
15
16 caused or contributed to death or serious injury, or if the device has malfunctioned in
17 a manner likely to cause or contribute to death or serious injury. Federal law also
18
     mandates that the FDA establish regulations requiring a manufacturer of a medical
19
20 device to report promptly to FDA any correction or removal of a device undertaken
21 to reduce a risk to health posed by the device, or to remedy a violation of federal law
22
     by which a device may present a risk to health. 21 U.S.C. § 360(i).
23
24         97.   Pursuant to federal law, the Secretary of Health and Human Services

25 may prescribe regulations requiring that the methods used in, and the facilities and
26
   controls used for, the manufacture, pre-production design validation (including a
27
28 process to assess the performance of a device, but not including an evaluation of the

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 1 safety or effectiveness of a device), packaging, storage and installation of a device
 2
     conform to current good manufacturing practice, as prescribed in such regulations, to
 3
     assure that the device will be safe and effective and otherwise in compliance with
 4
 5 federal law.
 6
           98.    The regulations requiring conformance to good manufacturing practices
 7
 8 are set forth in 21 C.F.R. § 820, et seq. As explained in the Federal Register, because
 9 the Current Good Manufacturing Practice (CGMP) regulations must apply to a variety
10
     of medical devices, the regulations do not prescribe the details for how a manufacturer
11
12 must produce a device. Rather, the quality system regulations provide a framework
13 of basic requirements for each manufacturer to use in establishing a quality system
14
     appropriate to the devices designed and manufactured and the manufacturing
15
16 processes employed. Manufacturers must adopt current and effective methods and
17 procedures for each device they design and manufacture to comply with and
18
     implement the basic requirements set forth in the quality system regulations.
19
20         99.    Pursuant to 21 C.F.R. § 820.1(c), the failure to comply with any

21 applicable provision in Part 820 renders a device adulterated under section 501(h) of
22
     the Federal Drug & Cosmetic Act (“the Act”). 21 U.S.C. § 351.
23
24         100. Pursuant to 21 C.F.R. § 820.5, each manufacturer shall establish and

25 maintain a quality system that is appropriate for the specific medical device designed
26
   or manufactured.        “Quality system” means the organizational structure,
27
28

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 1 responsibilities, procedures, processes and resources for implementing quality
 2
     management. 21 C.F.R. § 820.3(v).
 3
           101. Pursuant to 21 C.F.R. § 820.22, each manufacturer shall establish
 4
 5 procedures for quality audits and conduct such audits to assure that the quality system
 6
     is in compliance with the established quality system requirements and to determine
 7
 8 the effectiveness of the quality system.
 9         102. Pursuant to 21 C.F.R. § 820.30(a), each manufacturer shall establish and
10
     maintain procedures to control the design of the device in order to ensure that
11
12 specified design requirements are met.
13         103. Pursuant to 21 C.F.R. § 820.30(d), each manufacturer shall establish and
14
     maintain procedures for defining and documenting design output in terms that allow
15
16 an adequate evaluation of conformance to design input requirements.
17         104. Pursuant to 21 C.F.R. § 820.30(e), each manufacturer shall establish and
18
     maintain procedures to ensure that formal documented reviews of the design results
19
20 are planned and conducted at appropriate stages of the device’s design development.
21         105. Pursuant to 21 C.F.R. § 820.30(f), each manufacturer shall establish and
22
     maintain procedures for verifying the device design to confirm that the device design
23
24 output meets the design input requirements.
25         106. Pursuant to 21 C.F.R. § 820.30(g), each manufacturer shall establish and
26
     maintain procedures for validating the device design. Design validation shall be
27
28 performed under defined operating conditions on initial production units, lots or

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 1 batches, or their equivalents. Design validations shall ensure that devices conform to
 2
     defined user needs and intended uses and shall include testing of production units
 3
     under actual or simulated use conditions.
 4
 5         107. Pursuant to 21 C.F.R. § 820.30(h), each manufacturer shall establish and
 6
     maintain procedures to ensure that the device design is correctly translated into
 7
 8 production specifications.
 9         108. Pursuant to 21 C.F.R. § 820.30(i), each manufacturer shall establish and
10
     maintain procedures for the identification, documentation, validation or where
11
12 appropriate verification, review and approval of design changes before their
13 implementation.
14
           109. Pursuant to 21 C.F.R. § 820.70(a), each manufacturer shall develop,
15
16 conduct, control and monitor production processes to ensure that a device conforms
17 to its specifications. Where deviations from device specifications could occur as a
18
     result of the manufacturing process, the manufacturer shall establish and maintain
19
20 process control procedures that describe any process controls necessary to ensure
21 conformance to specifications. Such process controls shall include:
22
                 (a)    documented instructions, standard operating procedures (SOPs)
23
24         and methods that define and control the manner of production;

25               (b)    monitoring and control of process parameters and component
26
           and device characteristics during production;
27
28               (c)    compliance with specified reference standards or codes;

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 1               (d)    the approval of processes and process equipment; and
 2
                 (e)    criteria for workmanship which shall be expressed in
 3
           documented standards or by means of identified and approved representative
 4
 5         samples.
 6
           110. Pursuant to 21 C.F.R. § 820.70(b), each manufacturer shall establish and
 7
 8 maintain procedures for changes to a specification, method, process or procedure.
 9         111. Pursuant to 21 C.F.R. § 820.70(c), each manufacturer shall establish and
10
     maintain procedures to adequately control environmental conditions that could
11
12 reasonably be expected to have an adverse effect on product quality, including
13 periodic inspection of environmental control system(s) to verify that the system,
14
     including necessary equipment, is adequate and functioning properly.
15
16         112. Pursuant to 21 C.F.R. § 820.70(e), each manufacturer shall establish and

17 maintain procedures to prevent contamination of equipment or product by substances
18
     that could reasonably be expected to have an adverse effect on produce quality.
19
20         113. Pursuant to 21 C.F.R. § 820.70(g), each manufacturer shall ensure that

21 all equipment used in the manufacturing process meets specified requirement and is
22
     appropriately designed, constructed, placed and installed to facilitate maintenance,
23
24 adjustment, cleaning and use.
25         114. Pursuant to 21 C.F.R. § 820.70(h), each manufacturer shall establish and
26
     maintain procedures for the use and removal of manufacturing material which could
27
28

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 1 reasonably be expected to have an adverse effect on product quality to ensure that it
 2
     is removed or limited to an amount that does not adversely affect the device’s quality.
 3
           115. Pursuant to 21 C.F.R. § 820.70(i), when computers or automated data
 4
 5 processing systems are used as part of production or the quality system, the
 6
     manufacturer shall validate computer software for its intended use according to an
 7
 8 established protocol.
 9         116. Pursuant to 21 C.F.R. § 820.72, each manufacturer shall ensure that all
10
     inspection, measuring and test equipment, including mechanical, automated or
11
12 electronic inspection and test equipment, is suitable for its intended purposes and is
13 capable of producing valid results. Each manufacturer shall establish and maintain
14
     procedures to ensure that equipment is routinely calibrated, inspected, checked and
15
16 maintained.
17         117. Pursuant to 21 C.F.R. § 820.75(a), where the results of a process cannot
18
     be fully verified by subsequent inspection and test, the process shall be validated with
19
20 a high degree of assurance and approved according to established procedures.
21 “Process validation” means establishing by objective evidence that a process
22
     consistently produces a result or product meeting its predetermined specifications.
23
24 See 21 C.F.R. § 820.3(z)(1).
25         118. Pursuant to 21 C.F.R. § 820.75(b), each manufacturer shall establish and
26
     maintain procedures for monitoring and control of process parameters for validated
27
28 processes to ensure that the specified requirements continue to be met.             Each

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1 manufacturer shall ensure that validated processes are performed by qualified
2
     individuals.
3
           119. Pursuant to 21 C.F.R. § 820.90, each manufacturer shall establish and
4
5 maintain procedures to control product that does not conform to specified
6
     requirements.
7
8          120. Pursuant to 21 C.F.R. § 820.100, each manufacturer shall establish and

9 maintain procedures for implementing corrective and preventive action.                  The
10
     procedures shall include requirements for:
11
12                  (a)   analyzing processes, work operations, concessions, quality audit

13         reports, quality records, service records, complaints, returned product, and
14
           other sources of quality data to identify existing and potential causes of
15
16         nonconforming product or other quality problems;

17                  (b)   investigating the cause of nonconformities relating to product,
18
           processes and the quality system;
19
20                  (c)   identifying the action(s) needed to correct and prevent recurrence

21         of nonconforming product and other quality problems;
22
                    (d)   verifying or validating the corrective and preventative action to
23
24         ensure that such action is effective and does not adversely affect the finished

25         device;
26
                    (e)   implementing and recording changes in methods and procedures
27
28         needed to correct and prevent identified quality problems;

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 1                  (f)   ensuring that information related to quality problems or
 2
              nonconforming product is disseminated to those directly responsible for
 3
              assuring the quality of such product or the prevention of such problems; and
 4
 5                  (g)   submitting relevant information on identified quality problems,
 6
              as well as corrective and preventative actions, for management review.
 7
 8            121. Upon information and belief, Wright’s Profemur® Total Hip System is

 9 adulterated pursuant to 21 U.S.C. § 351 because, among other things, it failed to meet
10
     established performance standards and/or the methods, facilities or controls used for
11
12 its manufacture, packing, storage or installation are not in conformity with federal
13 requirements. See 21 U.S.C. § 351.
14
              122. Upon information and belief, Wright’s Profemur® Total Hip System is
15
16 misbranded because, among other things, it is dangerous to health when used in the
17 manner prescribed, recommended or suggested in the labeling thereof. See 21 U.S.C.
18
     § 352.
19
20            123. Upon information and belief, Wright’s Profemur® Total Hip System is

21 adulterated pursuant to 21 U.S.C. § 351 because Wright failed to establish and
22
     maintain CGMP for its Profemur® Total Hip System, including components, in
23
24 accordance with 21 C.F.R. § 820, et seq., as set forth above.
25            124. Upon information and belief, Wright failed to establish and maintain
26
     CGMP with respect to the quality audits, quality testing and process validation for its
27
           ®
28 Profemur Total Hip System, including its components.

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 1          125. As a result of Wright’s failure to establish and maintain CGMP as set
 2
     forth above, Wright’s Profemur® Total Hip System was defective and failed, resulting
 3
     in injuries to Plaintiff Ann L. Olver.
 4
 5          126. If Wright had complied with the federal requirements regarding CGMP,
 6
     Wright’s Medical Profemur® Total Hip System would have been manufactured and/or
 7
 8 designed properly such that it would not have resulted in injuries to Plaintiff Ann L.
 9 Olver.
10
            127. Plaintiff Ann L. Olver’s injuries were both factually and proximately
11
12 caused by the Defendant’s defective Profemur Total Hip System.
                                               ®


13          128. Plaintiff Ann L. Olver’s injuries were both factually and proximately
14
     caused by the Defendant’s unreasonably dangerous Profemur® Total Hip System.
15
16          129. Plaintiff Ann L. Olver further shows that she is entitled to recover for all

17 noneconomic and compensatory damages allowed by law, including, but not limited
18
     to, pain and suffering for all pain and suffering that he has incurred as a result of the
19
20 defective product, the follow-up surgery, rehabilitation, and constant pain that occurs
21 as a result of the failure of the Device.
22
                                          LIABILITY
23
          COUNT 1 – NEGLIGENT DESIGN AND FAILURE TO WARN OR
24                             INSTRUCT
25
            130. Plaintiff incorporates by reference as if fully set forth herein the facts
26
27 alleged in paragraphs 1-129 of this Complaint.
28

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 1         131. Defendant owed a duty of reasonable care to the general public,
 2
     including Plaintiff when it designed, manufactured, assembled, inspected, tested,
 3
     marketed, placed into the stream of commerce, and sold the Wright Medical
 4
 5 Profemur® CoCr Modular Neck, the Wright Medical Profemur® titanium modular
 6
     stem and the Wright Medical Profemur® Total Hip System, to protect users from an
 7
 8 unreasonable risk of harm when using the device for its intended purpose, in a
 9 reasonably foreseeable manner.
10
           132. Defendant breached this duty by designing, manufacturing, assembling,
11
12 inspecting, testing, marketing, distributing and selling the Wright Medical
13 Profemur® CoCr Modular Neck, the Wright Medical Profemur® titanium modular
14
     stem and the Wright Medical Profemur® Total Hip System in a defective and
15
16 unreasonably unsafe condition including, but not limited to, its foreseeably
17 appreciated risk of harm from the device’s propensity for fretting, corrosion and
18
     failure. A reasonably careful medical device manufacturer would not have acted in
19
20 this manner.
21         133. Likewise, Defendant owed Plaintiff a duty of reasonable care to
22
     discover the defects and to inform and/or warn her or her implanting surgeon of the
23
24 defects once they were discovered, and Defendant failed to warn of the dangers
25 inherent in the reasonably foreseeable use of the Wright Medical Profemur® Total
26
   Hip System, further placing Plaintiff at risk for harm and injury. Also, Defendant
27
28 owed Plaintiff and/or Plaintiff’s surgeon a continued duty to warn of risks associated

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 1 with its Wright Medical Profemur® Total Hip System to limit the damages that
 2
     Plaintiffs sustained.
 3
           134. Defendant was negligent in the particulars set forth in this Complaint,
 4
 5 and such negligence was a direct and proximate cause of the incident and injuries set
 6
     forth herein.
 7
 8        COUNT 2 – STRICT PRODUCTS LIABILITY: MANUFACTURING
                                DEFECT
 9
10
           135. Plaintiff incorporates by reference as if fully set forth herein the facts
11
     alleged in paragraphs 1-129 of this Complaint.
12
13         136. Plaintiff was damaged by the defective Wright Medical Profemur®
14
     CoCr Modular Neck, the Wright Medical Profemur® titanium modular stem, and the
15
     overall Wright Medical Profemur® Total Hip System, including by having to
16
17 undergo revision surgery 8 years post-implant.
18
           137. Prior to, on, and after the dates of Plaintiff’s initial hip surgery, and at
19
     all times relevant to this action, Wright was engaged in the business of
20
21 manufacturing, selling and distributing the Wright Medical Profemur® CoCr
22
     Modular Neck, the Wright Medical Profemur® titanium modular stem, and the
23
                                  ®
24 overall Wright Medical Profemur Total Hip System.
25         138. The Wright Medical Profemur® Total Hip System used in Plaintiff’s
26
     left hip replacement index surgery was supplied in a defective condition in its
27
28 manufacture, such that because the tolerances between the stem and neck

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 1 components did not comply with Wright’s design specifications it would experience
 2
     motion, fretting and corrosion at the stem-neck junction, rendering it unreasonably
 3
     dangerous.
 4
 5          139. Plaintiff’s physicians employed the Wright Medical Profemur® Total
 6
     Hip System in the manner in which it was intended and recommended to be used,
 7
 8 making such use reasonably foreseeable to Defendant.
 9          140. Defendant failed to develop and make available alternative products
10
     that were designed in a safe or safer manner, even though such products were
11
12 feasible and marketable and, in fact, were being sold and marketed by Defendant at
13 the time Defendant sold the Wright Medical Profemur® Total Hip System to
14
     Plaintiff.
15
16          141. The Wright Medical Profemur® Total Hip System’s defective condition

17 proximately caused Plaintiffs’ damages.
18
19       COUNT 3 – STRICT PRODUCTS LIABILITY – FAILURE TO WARN

20          142. Plaintiff incorporates by reference as if fully set forth herein the facts
21 alleged in paragraphs 1-129 of this Complaint.
22
         143. Plaintiff was damaged by the defective Profemur® CoCr modular Neck,
23
               ®                                       ®
24 the Profemur titanium modular Stem, and the Profemur Total Hip System.
25          144. Wright was engaged in the business of manufacturing, selling and
26
     distributing the Profemur® CoCr modular Neck, the Profemur® titanium modular
27
                         ®
28 Stem, and the Profemur Total Hip System.

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 1         145. At all times relevant herein, Defendant was engaged in the design,
 2
     development, testing, manufacturing, marketing, and sale of the Profemur® Total
 3
     Hip System devices.
 4
 5         146. Defendant designed, manufactured, assembled, and sold the Profemur®
 6
     Total Hip System devices to medical professionals and patients knowing that they
 7
 8 would then be implanted in patients in need of a hip prosthesis.
 9         147. Defendant distributed and sold the Profemur® Total Hip System
10
     devices in a condition such that when they left its place of manufacture, in their
11
12 original form of manufacture, they included the defects described herein.
13         148. The Profemur® Total Hip System devices were expected to and did
14
     reach Plaintiff and her implanting surgeon without substantial change or adjustment
15
16 in their condition as manufactured and sold by Defendant.
17         149. Defendant’s Profemur® Total Hip System device designed, developed,
18
     tested, manufactured, marketed and sold or otherwise placed into the stream of
19
20 commerce by Defendant were in a dangerous and defective condition and posed a
21 threat to any user or consumer of the Profemur® Total Hip System device.
22
           150. At all times relevant herein, Plaintiff was a person whom Defendant
23
24 should have considered to be subject to the harm caused by the defective nature of
25 the Profemur® Total Hip System device.
26
         151. Defendant’s Device was implanted and used in the manner for which it
27
28 was intended.

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 1          152. This use has resulted in severe physical and emotional and other
 2
     injuries to Plaintiff.
 3
            153. Defendant knew or should have known through testing, adverse event
 4
 5 reporting or otherwise that its Profemur® Total Hip System device created a high
 6
     risk of bodily injury and serious harm.
 7
 8          154. Defendant had a duty to warn its sales representatives/distributors,

 9 implanting surgeons and patients such as Plaintiff, and Defendant breached its duty
10
     in failing to provide adequate and timely warnings or instructions regarding their
11
           ®
12 Profemur Total Hip System devices and their known defects.
13          155. Defendant, furthermore, breached its duty to warn at pre-surgery and/or
14
     post-surgery by (a) failing to adequately communicate the warning to Defendant’s
15
16 sales representatives/distributors and/or to the ultimate users, i.e., Plaintiff and/or
17 her implanting physician; and/or (b) by failing to provide an adequate warning of
18
     the Device’s potential risks.
19
20          156. Adequate efforts to communicate a warning to the ultimate users were

21 not made by Defendant (or Defendant’s sales representatives/distributors) and, to
22
     the extent a warning was communicated by Defendant, the warning was inadequate.
23
24          157. The warnings (pre-surgery and/or post-surgery) to Plaintiff and her

25 implanting physician about the dangers the Device posed to consumers were
26
   inadequate. Examples of the lack and/or inadequacy of Defendant’s warnings
27
28 include, but are not limited to, one or more of the following particulars:

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1              (a)   the Device contained warnings insufficient to alert Plaintiff and
2
        Plaintiff’s physicians as to the unreasonably high failure rate and propensity
3
        for corrosion, associated with the Device, subjecting Plaintiff to risks which
4
5       exceeded the benefits of the Device;
6
               (b)   the Device contained misleading warnings emphasizing the
7
8       efficacy of the Device while downplaying the risks associated with it, thereby

9       making use of the Device more dangerous than the ordinary consumer would
10
        expect;
11
12             (c)   the Device contained insufficient and/or incorrect warnings to

13      alert consumers, including Plaintiff, through its prescribing physicians
14
        regarding the risk, scope, propensity, frequency, duration and severity of the
15
16      adverse events associated with the Device;

17             (d)   the Device did not disclose that it was inadequately tested;
18
               (e)   the Device failed to convey adequate post-marketing warnings
19
20      regarding the risk, severity, propensity, frequency, scope and/or duration of

21      the dangers posed by the Device; and
22
               (f)   the Device failed to contain instructions sufficient to alert
23
24      consumers to the dangers it posed and to give them the information necessary

25      to avoid or mitigate those dangers.
26
        158. Plaintiff used the Device for its intended purpose, i.e., hip replacement.
27
28

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 1         159. Plaintiff could not have discovered any defect in the Device through the
 2
     exercise of due care.
 3
           160. Defendant, as designer, manufacturer, marketer and distributor of
 4
 5 medical devices is held to the level of knowledge of an expert in the field.
 6
           161. Plaintiff and her implanting physician did not have substantially the
 7
 8 same knowledge about the Device as Defendant who was the designer,
 9 manufacturer, or distributor of the Device.
10
           162. Defendant reasonably should have known if its Device was unsuited for
11
12 active individuals such as Plaintiff.
13         163. As a direct and proximate result of Defendant’s failure to adequately
14
     communicate a warning and/or failure to provide an adequate warning and other
15
16 wrongful conduct as set forth herein, Plaintiff has sustained and will continue to
17 sustain severe physical injuries, severe emotional distress, mental anguish, economic
18
     losses and other damages, as set forth herein.
19
20         164. As a direct result of Defendant’s failure to warn and/or inadequate

21 warning and Defendant’s other tortious conduct, Plaintiff has suffered serious
22
     physical injury, harm, damages and economic loss and will continue to suffer such
23
24 harm, damages and economic loss in the future.
25         165. As a direct and proximate result of Defendant’s failure to warn and/or
26
     inadequate warning and Defendant’s other tortious conduct, as set forth herein,
27
28

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 1 Plaintiffs suffered and will continue to suffer injuries, damages and losses, and are
 2
     entitled to compensatory damages in an amount to be determined by the trier of fact.
 3
                       COUNT 4 - NEGLIGENT MISREPRESENTATION
 4
 5         166. Plaintiff incorporates by reference as if fully set forth herein the facts
 6
     alleged in paragraphs 1-129 of this Complaint.
 7
 8         167. Defendant had a duty to truthfully represent to the public, the medical

 9 community, to Plaintiff, Plaintiff’s healthcare providers, and the FDA that the
10
     Profemur® Total Hip System had not been properly tested, or found to be safe and
11
12 effective for its intended use.
13         168. Defendant knew or should have known that its representations that the
14
     Device was safe and effective were false and the representations regarding the safety
15
                                  ®
16 and performance of the Profemur Total Hip System were in fact, false.
17         169. Defendant failed to exercise ordinary care in determining the truth or
18
     falsity of its representations, and by misrepresenting the safety and performance of
19
               ®
20 the Profemur Total Hip System.
21         170. Defendant breached its duty to present truthful representations by
22
     knowingly, or by want of ordinary care, misrepresenting the safety and performance
23
                  ®
24 of the Profemur Total Hip System.
25         171. Defendant made representation that it knew or should have known to be
26
     untrue with the intent that Plaintiff, Plaintiff’s implanting physician, the medical
27
28 community, and the public would rely on those representations and utilize

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 1 Defendant’s product in hip replacement surgeries, including Plaintiff’s implant
 2
     surgeries.
 3
           172. Plaintiff and/or Plaintiff’s implanting physician reasonably and
 4
 5 justifiably relied upon the material representations made by Defendant regarding the
 6
     safety, efficacy, performance, and suitability of its Device.
 7
 8         173. Neither Plaintiff nor Plaintiff’s implanting physician knew of the falsity

 9 of Defendant’s representations, nor could they have discovered the truth through
10
     reasonable due diligence or care.
11
12         174. Had Defendant accurately and truthfully represented to the medical

13 community, Plaintiff’s implanting surgeon, Plaintiff, and the public the material
14
     facts that it knew regarding the risks of the Wright Medical Profemur® CoCr
15
                                                        ®
16 Modular Neck coupled with the Wright Medical Profemur titanium modular stem
17 as part of the Wright Medical Profemur® Total Hip System, Plaintiff and/or
18
     Plaintiff’s surgeon would not have utilized Defendant’s Wright Medical Profemur®
19
20 Total Hip System.
21         175. As a direct, legal, proximate and producing result of Defendant’s
22
     concealment of material facts, Plaintiff has experienced significant mental and
23
24 physical pain and suffering, has sustained permanent injury, has undergone medical
25 treatment and will likely undergo further medical treatment and procedures, has
26
   suffered financial or economic loss, including, but not limited to, obligations for
27
28 medical services and expenses, and other damages.

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 1                      COUNT 5 – FRAUD BY CONCEALMENT
 2         176. Plaintiff incorporates by reference as if fully set forth herein the facts
 3
     alleged in paragraphs 1-129 of this Complaint.
 4
           177. Defendant had a duty to accurately and truthfully represent to the
 5
 6 medical community, Plaintiff, and the public that Wright Medical Profemur® CoCr
 7
     Modular Neck, and the Wright Medical Profemur® Total Hip System, had not been
 8
 9 adequately tested and found to be safe and effective for the treatment of patients
10 requiring a hip replacement. Instead, the Defendant knew, but deliberately failed to
11
     communicate this to Plaintiff or Plaintiff’s surgeon.
12
13         178. Defendant had a duty to inform, but fraudulently concealed from the

14 medical community, Plaintiff’s implanting orthopedic surgeon, Plaintiff, and the
15
     public that the Wright Medical Profemur® CoCr Modular Neck coupled with the
16
                          ®                                                     ®
17 Wright Medical Profemur titanium modular stem in the Wright Medical Profemur
18 Total Hip System had an unreasonable and dangerous risk of corroding and causing
19
     bodily injury.
20
21         179. Defendant knew of the risk of corrosion and resulting bodily injury

22 present in the device implanted in Plaintiff and neither Plaintiff nor Plaintiff’s
23
     surgeon had this information, nor could they have discovered this information
24
25 through reasonable diligence or care.
26
27
28

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 1         180. Defendant had a duty to communicate the increased risk and known
 2
     failures associated with the device implanted in Plaintiff to Plaintiff Olver and
 3
     Plaintiff Olver’s surgeon.
 4
 5         181. Plaintiff and Plaintiff’s surgeon justifiably relied upon Defendant to
 6
     communicate known risks and failures in both the decision to implant the device and
 7
 8 follow up treatment after index surgery.
 9         182. Had Defendant accurately and truthfully represented to the medical
10
     community, Plaintiff’s implanting surgeon, Plaintiff Olver, and the public the
11
                                                                                  ®
12 material facts that it knew regarding the risks of the Wright Medical Profemur
13 CoCr Modular Neck coupled with the Wright Medical Profemur® titanium modular
14
     stem as part of the Wright Medical Profemur® Total Hip System, Plaintiff and/or
15
16 Plaintiff’s surgeon would not have utilized Defendant’s Wright Medical Profemur
                                                                                   ®


17 Total Hip System.
18
           183. Had Defendant not fraudulently concealed the increased risk of fretting
19
20 corrosion, effects of fretting corrosion, and the known failures of the device from
21 Plaintiff or Plaintiff’s implanting surgeon, Plaintiff’s injuries would have been
22
     avoided or limited.
23
24         184. As a direct and proximate result of Defendant’s fraudulent

25 concealment, Plaintiff has experienced significant mental and physical pain and
26
   suffering, has sustained permanent injury, has undergone medical treatment and will
27
28 likely undergo further medical treatment and procedures, has suffered financial or

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 1 economic loss, including, but not limited to, obligations for medical services and
 2
     expenses, and other damages.
 3
 4               COUNT 6 –FRAUDULENT MISREPRESENTATION
 5         185. Plaintiff incorporates by reference as if fully set forth herein the facts
 6
     alleged in paragraphs 1-129 of this Complaint.
 7
 8         186. Defendant made false representations of material fact to Plaintiff and/or

 9 Plaintiff’s surgeon as to the safety and efficacy of the Wright Medical Profemur®
10
   CoCr Modular Neck coupled with the Wright Medical Profemur® titanium modular
11
                                          ®
12 neck in the Wright Medical Profemur Total Hip System. Instead of disclosing the
13 heightened risks of corrosion, failure, and permanent injury, Wright represented:
14
                a)    that there was no indication of an increased risk of adverse
15
16                    events due to fretting and corrosion at the neck-stem taper

17                      junction;
18
                 b)     that lab testing guaranteed structural reliability and the absence
19
20                      of significant micromovement and of fretting corrosion;
21               c)     that product complaint data did not indicate an increased risk of
22
                        galvanic corrosion for Wright Medical Profemur® CoCr Modular
23
24                      Necks when coupled with Wright Medical Profemur® titanium
25                      hip stems;
26
                 d)     that, “[u]tilized in both primary and revision applications, the
27
28                      current [Profemur® modular] neck design has been successfully

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 1                      employed to improve surgical outcomes with no reported
 2
                        failures”;
 3
                  e)    that CoCr modular necks would result in less fretting than
 4
 5                      occurred with titanium modular necks; and
 6
                  f)    that the Wright Medical Profemur® Total Hip System, including
 7
 8                      its component parts, were safe and effective, and were safer and

 9                      more effective than other treatments for hip replacements.
10
           187. Defendant knew that the representations alleged in paragraph 186 were
11
12 false, yet Defendant willfully, wantonly, and recklessly disregarded the inaccuracies
13 in its representations.
14
           188. Defendant made these false representations with the intent of
15
16 defrauding and deceiving the medical community (including Plaintiff’s implanting
17 surgeon), Plaintiff, and the public, and to induce the medical community, Plaintiff’s
18
     implanting surgeon, Plaintiff and the public to utilize its Wright Medical Profemur®
19
                                                             ®
20 CoCr Modular Neck coupled with the Wright Medical Profemur titanium modular
21 stem as part of the Profemur® Total Hip System. Doing so constituted a callous,
22
     reckless, willful, and depraved indifference to the health, safety, and welfare of
23
24 Plaintiff and the public.
25         189. Plaintiff and her implanting orthopedic surgeon justifiably relied upon
26
     Wright’s false representations of material fact in deciding to utilize the Wright
27
28

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 1 Medical Profemur® Hip System, including the CoCr modular neck and titanium
 2
     modular stem.
 3
           190. Had Plaintiff or Plaintiff’s surgeon known the true facts about the
 4
 5 dangers and health risks of the Wright Medical Profemur® CoCr Modular Neck
 6
     coupled with the Wright Medical Profemur® titanium modular stem as components
 7
                                 ®
 8 of the Wright Medical Profemur Total Hip System, they would not have utilized
 9 the product.
10
           191. As a direct and proximate result of Defendant’s fraudulent conduct,
11
12 Plaintiff has experienced significant mental and physical pain and suffering, has
13 sustained permanent injury, has undergone medical treatment and will likely
14
     undergo further medical treatment and procedures, has suffered financial or
15
16 economic loss, including, but not limited to, obligations for medical services and
17 expenses, and other damages.
18
19                          COUNT 7 – PUNITIVE DAMAGES

20         192. Plaintiff incorporates by reference as if fully set forth herein the facts
21 alleged in paragraphs 1-129 of this Complaint.
22
         193. Defendant knew or should have known, in light of the surrounding
23
24 circumstances that its conduct would naturally and probably result in injury or
25 damage and continued the conduct with malice or in reckless disregard of the
26
   consequences, from which malice may be inferred. Accordingly, Plaintiff is entitled
27
28 to an award of punitive damages.

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 1                             REQUEST FOR RELIEF
 2      WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
 3
        1.     For general damages for personal injuries to Plaintiff, according to
 4
               proof;
 5
 6      2.     For all past, current, and future medical and incidental expenses,
 7
               according to proof;
 8
 9      3.     For all past, current and future loss of wages, according to proof;

10      4.     For punitive and/or exemplary damages in an amount sufficient to
11
               punish Defendant and deter similar conduct in the future, according to
12
13             proof;

14      5.     For prejudgment interest, as provided by law;
15
        6.     For reasonable attorneys’ fees;
16
17      7.     For costs of litigation; and

18      For such other and further relief as this Court may deem just and proper.
19 DATED: July 20, 2020                BOUCHER LLP
20
21                                     By:          /s/ Raymond P. Boucher
22                                            RAYMOND P. BOUCHER (CBA 115364)
                                              BOUCHER, LLP
23                                            21600 Oxnard Street, Suite 600
24                                            Woodland Hills, CA 91367
                                              Phone: (818) 340-5400
25                                            Facsimile: (818) 340-5401
26                                            Email: ray@boucher.la
27                                            Attorneys for Plaintiff Ann L. Olver
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1                             DEMAND FOR JURY TRIAL
2         Plaintiff respectfully demands that the present matter be set for a jury trial.
3
     DATED: July 20, 2020                Respectfully submitted,
4
5                                        BOUCHER LLP
6
7
                                         By:         /s/ Raymond P. Boucher
8                                              RAYMOND P. BOUCHER (CBA 115364)
9                                              BOUCHER, LLP
                                               21600 Oxnard Street, Suite 600
10                                             Woodland Hills, CA 91367
11                                             Phone: (818) 340-5400
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13
                                               Attorneys for Plaintiff Ann L. Olver
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